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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  RELAY IP, INC.
                 Plaintiff,
         v.
  SAVVIS, INC.,                                          CIVIL ACTION NO. 13-780-GMS

                 Defendant.


                          ORDER OF DISMISSAL WITH PREJUDICE

         On this day, Plaintiff Relay IP, Inc. ("Plaintiff') and Defendant Savvis, Inc.

  ("Defendant") announced to the Court that they have resolved Plaintiffs claims for relief against

  Defendant asserted in this case. Plaintiff and Defendant have therefore requested that the Court

  dismiss Plaintiffs claims for relief against Defendant with prejudice and with all attorneys' fees,

  costs and expenses taxed against the party incurring same. The Court, having considered this

  request, is of the opinion that their request for dismissal should be granted.

         IT IS THEREFORE ORDERED that Plaintiffs claims for relief against Defendant are

  dismissed with prejudice. IT IS FURTHER ORDERED that all attorneys' fees, costs of court

  and expenses shall be borne by each party incurring the same.
